Case 2:05-cr-02094-LRS   ECF No. 191   filed 06/30/06   PageID.474 Page 1 of 6
Case 2:05-cr-02094-LRS   ECF No. 191   filed 06/30/06   PageID.475 Page 2 of 6
Case 2:05-cr-02094-LRS   ECF No. 191   filed 06/30/06   PageID.476 Page 3 of 6
Case 2:05-cr-02094-LRS   ECF No. 191   filed 06/30/06   PageID.477 Page 4 of 6
Case 2:05-cr-02094-LRS   ECF No. 191   filed 06/30/06   PageID.478 Page 5 of 6
Case 2:05-cr-02094-LRS   ECF No. 191   filed 06/30/06   PageID.479 Page 6 of 6
